    Case: 1:21-cv-03233 Document12-Person    Jury
                                 #: 1-1 Filed: 06/16/21 Page 1 of 24 PageID #:6

                                                            FILED
                                                            3/1/2021 1:54 PM
               IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS IRIS Y. MARTINEZ
                                                            CIRCUIT CLERK
                     COUNTY DEPARTMENT,LAW DIVISION
                                                            COOK COUNTY, IL

 ALEXIS REZA                                                                        12388505



                Plaintiff,
                                                               2021L002340
        V.                                              No.:

 MEGABUS USA,LLC,ED BYRNE,as an                         PLAINTIFF DEMANDS JURY
 agent ofMegabus USA,LLC and COACH                      TRIAL
 USA,LLC;and COACH USA,INC.,



                Defendants.

                                  COMPLAINT AT LAW

       NOW COMES Plaintiff, ALEXIS REZA, by and through her attorneys Romanucci &

Blandin, LLC, and complaining against Defendants, MEGABUS USA,LLC; ED BYRNE; and

COACH USA,INC.; Plaintiff states as follows:



                                      INTRODUCTION

    1. The Megabus website informs their potential clients oftheir safety on their website, where

       it read:"So is Megabus safe? Without a question. Statically, megabus is safer than driving

       your car, in fact."

   2. This matter stems from the August 30, 2019 sexual assault of Plaintiff Alexis Reza while

       riding as a passenger on the Defendants' Megabus USA and Coach USA,Inc.'s bus under

       the care of Defendant Ed Byrne.

                                          PARTIES

Plaintiff




                                                1
                                            Exhibit A
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   3. Plaintiff ALEXIS REZA was at all times mentioned herein a resident of the City of

      Carpentersville, County of Kane and State ofIllinois.

Defendants

  4. On and before August 30,2019 and all times relevant herein, Defendant, MEGABUS USA,

      LLC,("MEGABUS")was a Delaware limited liability company with its principal place of

      business at 400 South Racine Avenue, Chicago, Illinois, 60609.

  5. On and before August 30, 2019, MEGABUS conducted and continues to conduct

      systematic and continuous business activity within the State of Illinois.

  6. At all times material hereto, Defendant Megabus, transacted' business in Cook County,

      Illinois, and purposefully availed itself of Cook County, Illinois, and the citizens of Cook

      County, lllinois.

  7. On and before August 30, 2019 and all times relevant herein, Defendant, COACH USA,

      INC.,("COACH USA")Lwas a Delaware corporation with itsEprinciple place of business at

      160 South Route 17,Paramus, New Jersey 07652.

  8. On and before August 30, 2019, COACH USA,INC. conducted and continues to conduct

     systematic and continuous business activity within the State ofIllinois.

  9. At all times material hereto, Defendant COACH USA,INC.;' ansacted business in Cook

     County, Illinois, and purposefully availed itself of Cook County, Illinois, and the citizens

     ofCook County, Illinois.

  10. Based on information and belief, Defendant MEGABUS USA, LLC, is a subsidiary of

     Defendant COACH USA,INC.

  11. On or before August 30,2019,and at all times relevant, Defendant,Ed Byrne, was resident

     ofthe County of Rock, State of Wisconsin.




                                           Exhibit A
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12. On or before August 30,2019,and at all times relevant, Defendant,Ed Byrne, was an agent

     OfMEGABUS USA,LLC and COACH USA,INC. and served as a driver for the Megabus

     service from Chicago.,to St. Paul, Minnesota.

13. On and before August30, 2019, Defendant Byrne conducted and continues to conduct

     systematic and continuous business activity • within the State of Illinois, on behalf of

     Megabus.

14. At all times material hereto,Defendant Byrne,transacted business in Cook County,Illinois,

     and purposefully availed himself of Cook County, Illinois, and the citizens of Cook

     County, Illinois.

                         ALLEGATIONS COMMON TO ALL COUNTS

I.       The August 29,2019 Incident

15. On August 30,2019; Defendants MEGABUS and COACH USA owned and/or operated a

     passenger bus traveling from Chicago,IL to St. Paul, MN.

16. At all times relevant hereto, Defendants MEGABUS and COACH USA were common

     =Tiers for hire, in operation of passenger busses, including the bus in question, traveling

     from Chicago,IL to St.. Paul, MN.

17. At all relevant times hereto, Defendants MEGABUS and COACH USA were common

     carriers engaged in a joint enterprise, which owed passengers, including Plaintiff a non-

     delegable duty to exercise the highest degree of care for their safety and well-being.

18. At all relevant times hereto, Defendants MEGABUS andCOACH USA were aware and

     on notice that batteries, assaults, and harmful acts, including sexual assaults occur during

     the operation oftheir services.




                                              3
                                           Exhibit A
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                                                                    1)

                             ,1 J


 19. At all times relevant hereto, Defendants MEGABUS and COACH USA failed to

     implement policies, practices, and procedures to radio dispatch, contact authorities, and

     stop the bus in the event a crime occurred,including the sexual assault ofPlaintiff ALEXIS

     REZA.

 20. At all times relevant hereto, Defendant ED BYRNE, driver of said bus, and agent of

     MEGABUS and COACH USA, was charged with the responsibility to provide a safe,

     secure and protective environment for passengers, including Plaintiff ALEXIS REZA.

, 21. At all relevant times, Defendant MEGABUS and COACHJJSA, by and through their

     authorized agent, and bus driver, Defendant ED BYRNE,operated managed, maintained,

     and controlled the bus in a northbound direction on Interstate 94.

 22. On August 29 and 30,2019,Plaintiff ALEXIS REZA traveled from Chicago,Illinois to St.

    Paul, Minnesota on said bus.                                t


 23. Plaintiff ALEXIS REZA was picked up by MEGABUS and COACH USA as part of a

    charter service in Chicago, Illinois.

 24. At all relevant times,PlaintiffALEXIS REZA sat in her assigned seat marked number two,

    the front seat directly behind the bus driver nearest the window,and upon information and

    belief, visible in his rear-view mirror.

 25. At all relevant times, Plaintiff ALEXIS REZA sat in her assigned seat across the aisle and

    two seats away from her mother, who -was traveling with her.

26. On August 29, 2019, an unidentified male passenger entered said bus at 11:41PM and sat

    directly behind the driver and directly next to Plaintiff ALEXIS REZA in the aisle seat

    marked number one and upon information and belief, visible in his rear-view mirror.




                                                4
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27. The unidentified passenger used a ticket in the name of an individual named Geramy'D.

   Hopson.

28. Before entering the bus, the unidentified passenger's ticket was not verified by the driver

   or any other agents of Defendants MEGABUS and COACH USA.

29. During the ride, Plaintiff ALEXIS REZA took her epilepsy medication and fell asleep at

   approximately 12:38 AM until 1:43AM.

30. Around 1:43 AM,while on route to St. Paul, MN,the bus took an unscheduled stop due to

   a disorderly passenger.

31. Under Defendants MEGABUS and COACH USA'S policies, practices,and procedures the

   situation warranted radioing dispatch, contacting law enforcement, and stopping the bus.

32. The driver, an agent of MEGABUS and COACH USA, radioed dispatch, contacted law

   enforcement, and stopped the bus.

33. As the disorderly passenger was removed from the Megabus, Plaintiff ALEXIS REZA's

   mother was kicked in the face by said passenger.

34. Thereafter, Defendant MEGABUS was on notice of assaults, battery, disorderly and

   violent behavior commenced in the bus, and it was reasonably foreseeable that additional

   dangerous acts might.occur.

35. After departing from the unscheduled stop, Plaintiff ALEXIS REZA fell asleep at

   approximately 2:15AM.

36. Defendants MEGABUS and COACH USA made a driver switch stop at 5:02AM, where

   Defendant and authorized agent of Defendants MEGABUS and COACH USA, ED

   BYRNE,initiated command of the bus, and departed by 5:31AM.




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37. Upon information and belief, the original driver, other agents or employees of Defendants

    MEGABUS and COACH USA did not convey information,ofthe assault and battery from

    the original disorderly passenger to Defendant BYRNE, despite their knowledge that

    violent acts had occurred among the passengers.

38. Defendant BYRNE had been trained, was aware and on notice that Defendants MEGABUS

    and COACH USA'S procedures in event of assault, battery or sexual assault mandated

    radioing dispatch, contacting law enforcement, and stopping,the bus.

39. At 5:47AM,the unidentified male passenger directly adjacent to Plaintiff ALEXIS REZA,

    maneuvered his right arm and hand toward her buttock area as she leaned over,

    unconscious.

40. After advancement of his hand from the outside of her pants to the inside, the unidentified

    passenger groped Plaintiff ALEXIS REZA's vaginal and buttock area.

41. The unidentified passenger digitally penetrated Plaintiff ALEXIS REZA's vagina, causing

   her pain and harm.

42. The sexual assault caused Plaintiff ALEXIS REZA to awake in terror.

43. PlaintiffALEXIS REZA screamed at the unidentified passenger,and alerted the bus driver,

   Defendant ED BYRNE multiple times, loudly enough for other passengers to hear and be

   disturbed.

44. Despite being informed by Plaintiff ALEXIS REZA of the sexual assault, Defendant ED

   BYRNE failed to follow the policies, practices, and procedures to radio dispatch, contact

   authorities, and stop the bus.




                                         Exhibit A
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45. In lieu ofthe policies, practices;and procedures to radio dispatch, contact authorities, and

   stop the bus, Defendant ED BYRNE merely requested the assailant move to another seat

   in which he remained until their arrival to St. Paul MN at 8:25AM, and made his exit.

46. Defendants MEGABUS and COACH USA'S agent /BYRNE forced Plaintiff ALEXIS

   REZA to endure at least 98 minutes riding with the assailant sitting behind her and not

   constrained.

47. During the remaining ride, Plaintiff ALEXIS REZA could not sleep, was in shock, and

   emotional drained.

48. During the remaining ride,PlaintiffALEXIS REZA rode in fear and experienced additional

   emotional distress as;she did not know if she would be attacked or assaulted again.

49. Upon their arrivallo St. Paul Defendant BYRNE did not call the police, ask the assailant

   his name, document any information from Plaintiff ALEXIS REZA,or stop the assailant.

50. Defendant ED BYRNE watched as the assailant made his way to the exit and left the bus.

51. On the morning of August 30, 2019, approximately one hour after sexually assaulted,

   Plaintiff ALEXIS REZA emailed Defendant MEGABUS and COACH USA,details ofthe

   attack, hoping to identify and prosecute the assailant.

52. After several email correspondence with customer service, Plaintiff ALEXIS REZA was

   contacted by Defendant COACH USA on September 27, 2019, to request a summary of

   the occurrence and offered to facilitate contact with Wisconsin State Police.

53. Defendant COACH USA did not provide Plaintiff ALEXIS REZA with contact

   information.




                                             7
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54. On information and belief, contact by Defendant MEGABUS'S General Counsel to

     Wisconsin State Police was initiated on October 9,2019,forty days after Plaintiff ALEXIS

     REZA'S was forced to endure a sexual assault on the morning of August 30,2019.

55. Plaintiff ALEXIS REZA'S assailant remains unidentified and at large.

H.       Megabus and Coach USA Policies and Procedures

56. Defendants Megabus and Coach USA's policies and procedures indicate the Defendants'

     awareness ofsafety risks to their passengers, including assault.

57. The Megabus Terms and Conditions state that "Ifa Megabus Operating Carrier has reason

     to suspect the fraudulent use of a confirmation, you may be denied transportation on a

     motorcoach."

58. Section 3(A)of Megabus' Terms and Conditions includes the following language:

        Megabus Operating Carriers reserve the right to refuse to transport or shall have the
        right to remove from the motorcoach at any point, any customer for the following
        reasons: ... 4. Safety. Whenever refusal or removal ofa customer may be necessary for
        the safety of such customer or other customers or drivers, including, but not limited
        to:(a)Persons whose conduct is disorderly, offensive, abusive, illegal or violent...

59. The Megabus website indicates that "Maintaining the absolute highest quality of driver

     training and customer safety are of our highest priorities."

60. The Megabus website identifies that"Bus Safety is our top priority" and that its customers

   can "Rest-assured that you are safe when riding with megabus. It is an essential part ofour

     mission at megabus to ensure that you and your loved ones are safe and secure."

61. The Megabus website describes that their process "revolves around both our drivers and

   passengers taking the necessary precautions to guarantee bus safety throughout your

   journey and helps to keep megabus safe."




                                               8
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62. The Megabus website describes Defendants they extensively screen their drivers and

    require them to complete "a number of rigorous training courses" to be considered for

   employment.

63. Drivers are trained that they are monitored by camera during the trip, that "safety is our

   first priority", and specialized customer service training, requiring a "consistent attitude of

    helpfulness and attentiveness".

64. The Megabus driventraining video states,"our safety policy states that it is Coach USA

   and Megabus policy,that all employees approach their duties with a keen safety conscious

   focus and dedication to ensure that unsafe situations and acts are identified, addressed,and

   eliminated, and thatall regulations, laws, and company rules and procedures are strictly

   adhered to without question."

65. The Megabus training video entitled "Safety First of All", instructs drivers make every

   effort to ensure the safety of our drivers, customers, and the public, and the Megabus

   "safety culture", will never be compromised.

66. The Megabus onboard 'safety video instructs customers be respectful to other customers

   and to report any suspicious behavior.

67. In 2018, Coach USA implemented human trafficking recognition training, to be refreshed

   annually,to more than 5000 employees. Training material focuses on unusual interactions,

   particularly betweenpen and women.In an interview wit WSB-TV Atlanta, Coach USA

   Vice President of Safety, Jason Louis stated,"we don't Want drivers playing police, but

   want them to call for help if they see red flags. Ifsomething doesn't look right,ifsomething

   looks out of place, if they don't look right together, these are some of the signs to that

   nature, to be on the lookout for."




                                             9
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IlL      Megabus and Coach USA's failure to Instate Above Policies

68. On August 29, 2019, Defendants failed to identify and deny entry to Plaintiff's assailant,

      even though his Megabus confirmation was fraudulent, as the ticket was purchased by and

    for Geramy D. Hopson but used instead by the assailant.

69. On August 30, 2019, Defendants were on notice that many of their drivers, including
                                                         ;
    Defendant ED BYRNE,did not maintain the highest quality ofcustomer safety.

70. On August 30,2019, Defendants knew it was necessary for the safety and emotional well-

      being of its passengers,including Plaintiff ALEXIS REZA,to remove the assailant for his

    disorderly, offensive, abusive, illegal, and violent conduct:.

71. Defendants through their agent Defendant BYRNE,had the ability and authority to remove

    the assailant for the safety and emotional well-being of all passengers, including Plaintiff

    ALEXIS REZA and failed to do so.

72. On August 30, 2019, Defendants Megabus and Coach USA, through Defendant Byrne,

    were on notice that while Plaintiff ALEXIS REZA laid unconscious, the assailant's hand

    in her pants was "out of place", did not look right, and she and the assailant "didn't look

   right together."

73. Defendants had the ability, authority, and training to identify unusual interactions between

   male and female passengers, call for help, and failed to do sá"

74. Defendants, through Defendant Ed Byrne,failed to identify"the assailant, stop the bus, call

   the police or assist Plaintiff Reza even after she had informed Defendant Byrne of the

   assault.

75. Defendants, through Defendant Ed Byrne, failed to take any action beyond asking the

   assailant, after he had sexually assaulted Plaintiff, to move to a different part ofthe bus.




                                             10 A
                                          Exhibit
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76. Defendants, through Ed Byrne, took less action to removoPlaintiffs Reza's assailant than

   the disorderly passenger that had been removed mere minutes before.

77. Defendant Ed Byrne failed to follow the same procedure as the driver that preceding him,

   costing Plaintiff Reza the ability to identify and prosecute the assailant.

IV.    Prior Incidents put Megabus and Coach USA on Notice of the Reasonably

       Foreseeable Risk of Harm.

78. Defendants were on notice that incidents of sexual Assault, assault, violence, and sexual

   harassment occurred routinely on Megabus and the policies they had in place to address

   said situations.

79. The Defendants had notice ofa 2013 incident, wherein Racine County Wisconsin Sheriffs

   arrested passenger Patrick C. Nordeen, when he masturbated to pornography on his

   computer, aboard a Megabus. Disturbed and upset, a female passenger, three feet away

   from Nordeen, complained to the driver. The driver pulled over and deputies were

   dispatched. Nordeen was charged with lewd and lascivious behavior,

80. The Defendants had notice of a 2015 incident wherein Megabus passenger Jacques L.

   Anderson dischargeda semi-automatic pistol inside an onboard bathroom.Soon thereafter,

   Anderson exited the bathroom, harassed the driver, and pulled the steering wheel, causing

   further distress to passengers. After fellow passenger Kenneth Smith told Anderson to
                                                                                       tr

   return to his seat, Anderson, stepped toward Smith with his firearm. Smith rushed

   Anderson, applied a Chokehold, and disarmed him. The driver immediately pulled over in

   Des Plaines, Illinois, where Anderson was arrested and charged with aimed violence,

   aggravated battery to a peace officer, delivery ofcocaine, unlawful use ofa firearm,felony

   escape, reckless discharge ofa firearm and criminal damage to government property.




                                              i
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81. The Defendants had notice of a 2015 incident wherein passenger Mario A. Harrison was

    arrested and charged by New York State Police, with performing a lewd sex act aboard a

    Megabus, when he masturbated in front of passengers.

82. The Defendants had nice of a 7016 incident wherein pa§aenger Telly Shade11 Corey

    masturbated in his sweatpants for up to three hours and exposed his penis to a female

    passenger, who reported being "terrified". In response to complaints,the driver pulled over

    in Coralville, Iowa, where Corey was arrested and charged with indecent exposure.

    According to the criminal complaint, Corey was still mastqrhating upon police arrival.

83. The Defendants had notice ofa 2018 incident wherein passenger Saalim Randolph Muslim

    assaulted a female passenger. The driver pulled over in Rocky Hill, Connecticut, where

    Muslim was arrested and charged with third degree assault and second-degree breach of

    peace.

84. Each ofthe above-referenced incidents provided notice to Defendants notice that batteries,

    assaults, and harmful acts, including sexual violence, occur during the operation of their

    services.

85. In each of said incident, Defendants pulled over, ensured the safety of the victim, and

   allowed for the prosecution ofthe perpetrator.


                          COUNT I: NEGLIGENCE
                    (DEFENDANTS MEGABUSAND COACH USA)

86. Plaintiffs reallege and incorporate paragraphs 1 through 83 as Though fully stated herein.

87. Defendants Megabus and Coach USA, through their agent Defendant Ed Byrne,

   transported and provided bussing services to Plaintiff Reza, performing the function of a

   common carrier.




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88. At all relevant times,'Defendants Megabus and Coach USA,through their agent Defendant

   Ed Byrne, owed the highest duty of care to its passengers, including Plaintiff Reza, to

   provide for their safety and security while being transported in their passenger vehicle.

89. Defendants Megabus and Coach USA,as the owner and operator of the commercial bus

   engaged in the transportation of passengers, as a common carrier, owed a duty to their

   passengers, including Plaintiff Reza,to transport their passengers and operate the bus with

   the highest degree of care through their agents including but not limited to Defendant Ed

   Byrne, so as to avoid causing injury, and/or harmful or offensive contact and assaults to

   Plaintiff Reza.

90. Further, Defendants MEGABUS and COACH USA had a duty to provide a safe, secure

   and protective environment for passengers, including Plaintiff ALEXIS REZA.

91. Defendants MEGABUS and COACH USA,a common carrier, further owed the highest

   degree of care, including the duty to discover and prevent danger to said passengers,
                       ,
   including protecting them from the foreseeable dangerous, violent, and unwanted sexual

   conduct offellow passengers.

92. Notwithstanding said duty, Defendants MEGABUS and COACH USA, by and through

   their agents, employees:and/or servants, include Defendant Byrne, committed one or more

   ofthe following acts and/or omissions:

          a. failed to enforce the rules, regulations, practices, and procedures that its

              employees and agents, were required to follow when they became aware one of

              its passengers, Plaintiff ALEXIS REZA, was sexually assaulted.

          b. failed to call authorities immediately after complaints of sexual assault aboard

              the bus were received by Plaintiff ALEXIS REZA.




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          c. failed to radio dispatch at any time after complaints ofsexual assault aboard the

              bus were received by Plaintiff ALEXIS REZA.

          d. failed to stop the bus at any time, after complaints of sexual assault aboard the

              bus were received by Plaintiff ALEXIS REZA.

          e. failed to investigate or report the complaints by PlaintiffALEXIS REZA,ofthe

              sexual assault she endured while under Defendant's care before October 4,

              2019, when Plaintiff ALEXIS REZA emailed details of the sexual assault to

              Defendants' customer service on August 29,2019.

          f. failed to confirm the identity of passengers, thus allowing Plaintiff ALEXIS

              REZA's assailant to board the MegaBus with a ticket under a different name.

          g. failed to retain sufficient and proper control ci,Ver the operation and what

              occurred within the aforementioned bus;

          h. operated, controlled, and drove said bus without properly and sufficiently

             supervising the individuals being transported;

          i. failed to properly instruct its agents, employees, and/or servants in proper safety

             procedures to follow while the bus is in movement and transporting passengers;

         j. failed to separate Plaintiff Reza from the assailant after the sexual and physical

             assault, and abuse ofPlaintiff Reza;

         k. failed to establish and implement proper and comprehensive rules, regulations,

             practices and procedures for its employees and agents to follow and adhere to,

             to keep sexually aggressive and dangerous perpetrators from assaulting

             passengers; LI




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                1. failed to enforce proper and comprehensive rules, regulations, practices and

                       proceduies for the employees and agents to follow to recognize the signs of

                       potential sexual assault occurring; and,

                m. failed to operate said bus in a reasonably safe manner.

    93. As a direct and proximate cause and result of one or more of the aforementioned willful

        and wanton conduct'of-the Defendants herein, Plaintiff ALEXIS REZA was sexually

        assaulted, while aboard the MegaBus, and suffered severe and permanent psychological,

        and emotional injuries and damages,- all of which caused and continue to cause her great

        pain and suffering, mental and emotional distress, and have resulted in her diminished

        ability to enjoy her life:

    94. In performing the duties of a common carrier, Defendants Megabus and Coach USA,

        through their agent Defendant Byrne, are liable for their passengers' injuries.

WHEREFORE, the Plaintiffs pray this Honorable Court to enter judgment in their favor and

against Defendants, MEGABUS and COACH USA for an amount in excess of $50,000 and for

their costs of suit.

                                      COUNT II: NEGLIGENCE
                                      (DEFENDANTBYRNE)

   95. Plaintiffs reallege and incorporate paragraphs 1 through 83 as though fully stated herein.

    96. On August 29,2019,Defendant Byrne was acting as a duly authorized agent ofDefendants

        Megabus and Coach USA and undertook to act negligently regarding the safety and well-

        being of Plaintiff Reza.

   97. Defendant Byrne, as a duly authorized agent of Defendants Megabus and Coach USA,

        transported and provided bussing services to Plaintiff Reza, performing the function of a

        common carrier.


                                                    15
                                                 Exhibit A
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98. At all relevant times, Defendant Ed Byrne,owed the highest duty ofcare to his passengers

    as he operated a Megabu.s,including Plaintiff Reza, to providefor their safety and security

    while being transported in their passenger vehicle.

99. Defendant Byrne as the operator of the commercial bus engaged in the transportation of

    passengers, as a common carrier, owed a duty to their passengers,including PlaintiffReza,

    to transport passengers and operate the bus with the highest degree of care, so as to avoid

    causing injury and/or harmful or offensive contact and assaults to Plaintiff Reza.

 100.      Notwithstanding said duty, Defendant Byrne, committed one or more of the

   following acts and/or omissions:

           a. failed to enforce the rules, regulations, practices, and procedures that its

               employees and agents, were required to follow when they became aware one of

               its passengers, Plaintiff ALEXIS REZA, was sexually assaulted.

           b. failed to call authorities immediately after complaints of sexual assault aboard

              the bus were received by Plaintiff ALEXIS REZA.

           c. failed to radio dispatch at any time after complaints ofsexual assault aboard the

               bus were received by Plaintiff ALEXIS REZA.

           d. failed to stoptthe bus at any time, after complaints ofsexual assault aboard the

              bus were received by Plaintiff ALEXIS REZA.

           e. failed to investigate or report the complaints by PlaintiffALEXIS REZA,ofthe

              sexual assault she endured while under Defendant's care before October 4,

              2019, when Plaintiff ALEXIS REZA emailed details of the sexual assault to

              Defendants' customer service on August 29,2019'.




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                 f. failed to confirm the identity of passengers, thus allowing Plaintiff ALEXIS

                     REZA's assailant to board the MegaBus with a ticket under a different name.

                 g. failed to 'retain sufficient and proper control over the operation and what

                     occurred within the aforementioned bus;

                 h. operated, controlled, and drove said ,bus without properly and sufficiently

                     supervising the individuals being transported;

                 i. failed to'separate Plaintiff Reza from the assailant after his sexual and physical

                     assault, and abuse of Plaintiff Reza; -

                 j. failed to operate said bus in a reasonably safe manner.

   101.          As a direct and proximate cause and result of one or more of the aforementioned

       willful and wanton 'conduct of the Defendants herein,' Plaintiff ALEXIS REZA was

       sexually assaulted, while aboard the MegaBus, and suffered severe and permanent

       psychological, and emotional injuries and damages, all of which caused and continue to

       cause her great pain and suffering, mental and emotional distress, and have resulted in her

       diminished ability t&enjoy her life.

WHEREFORE, the Plaintiffs pray this Honorable Court to enter judgment in their favor and

against Defendant BYRNE for an amount in excess of$50,000 and for their costs ofsuit.


           COUNT III: NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                             (ALL DEFENDANTS)

   102.          Plaintiffs reallege and incorporate paragraphs 1 through 83 as though fully stated

       herein.

   103.          At all relevant times herein,the Defendants' through their bus driver and authorized

       agent, ED BYRNE,,as a common carrier, owed the highest duty of care to its passengers,




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    including Plaintiff ALEXIS REZA, to avoid causing emotional injury and/or emotional

    distress.

 104.       Notwithstanding said duty, Defendants failed to exercise said care so not to cause

    emotional injury and/or.emotional distress to Plaintiff in the following ways:

            a. Despite being on notice Plaintiff ALEXIS REZA had been sexually assaulted

                while unconscious from her epilepsy medication, Defendants took no measures

                to remove the assailant from the bus;

           b. Despite being on notice Plaintiff ALEXIS REZA had been sexually assaulted

                while unconscious from her epilepsy medication, Defendants forced Plaintiff

                ALEXIS REZA to remain in the bus with the assailant for an additional three

                hours, while in a continued drowsy state, in which she for her safety; and

           c. Despite being on notice Plaintiff ALEXIS REZA had been sexually assaulted

                while unconscious from her epilepsy medicaticin,,Defendants made no efforts

                to report the sexual assault to authorities, radio dispatch, or stop the bus, which

                allowed the assailant to exit unapprehend upon their arrival to the St. Paul, MN

                destination,and caused Plaintiff ALEXIS REZA to endure perpetual fear ofthe

                assailant.

           d. failed to retain sufficient and proper control over the operation and what

                occurred within the aforementioned bus;

           e. operated, controlled, and drove said bus without properly and sufficiently

                supervising the individuals being transported;

           f. failed to properly instruct its agents,employees,and/or servants in proper safety

                procedures to follow while the bus is in movement and transporting passengers;




                                              18
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             g. failed to establish and implement proper and comprehensive rules, regulations,

                 practices and procedures for its. employees and agents to follow and adhere to,

                to keep sexually aggressive and dangerous perpetrators from assaulting

                 passengers;

             h. failed to enforce proper and comprehensive rifles, regulations, practices and

                procedures for the employees and agents to follow to recognize the signs of

                potential sexual assault occurring; and,

             i. failed to operate said bus in a reasonably safe Manner:

105.         As a result of one or more of the aforementioned actions or inactions of the

   Defendants herein,Plaintiff ALEXDC REZA suffered severe and permanent psychological,

   and emotional injuries and damages,;all of which caused and continue to cause her great

   pain and suffering, mental and emotional distress, and have resulted in her diminished

   ability to enjoy her life'.

       WHEREFORE, the Plaintiff ALEXIS REZA prays this Honorable Court to enter

       judgment in their favor and against Defendants MEGABUS, COACH USA and

       BYRNE for an amount in excess of$50,000.00 and for their costs ofsuit.


                           COUNT IV: RESPONDEAT SUPERIOR
                          (DEFENDANTS MEGABUS and COACH USA)

106.         Plaintiffs reallege and incorporate paragraphs 1 through 83 as though fully stated

   herein.

107.         At all relevant times herein, the Defendants' bus driver and authorized agent, ED

   BYRNE, owed the highest duty of care to its passengers, including Plaintiff ALEXIS




                                              19
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    REZA,to provide for their safety and security while being transported in their passenger

    vehicle.

 108.       In breach of said aforementioned duties, Defendants, through their authorized

    agent, ED BYRNE, breached its duty by committing one or more of the following acts

    and/or omissions:

        a. failed to enforce the rules, regulations, practices, and procedures that its employees

            and agents, were required to follow when they became aware one ofits passengers,

            Plaintiff ALEXIS REZA,was sexually assaulted.         .

        b. failed to call authorities immediately after complaints of sexual assault aboard the

            bus were received by Plaintiff ALEXIS REZA.

        c. failed to radio dispatch at any time after complaints ofsexual assault aboard the bus

            were received by.Plaintiff ALEXIS REZA.

        d. failed to stop the bus at any time, after complaints ofsexual assault aboard the bus

            were received by Plaintiff ALEXIS REZA.

        e. failed to investigate or report the complaints by Plaintiff ALEXIS REZA, of the

           sexual assault slip endured while under Defendant's.care before October 4, 2019,

           when Plaintiff ALEXIS REZA emailed details ofthe sexual assault to Defendants'

           customer service on August 29, 2019.

        f. failed to confirm the identity of passengers, thus allowing Plaintiff ALEXIS

           REZA's assailant to board the MegaBus with a ticket under a different name.

        g. failed to retain sufficient and proper control over the operation and what occurred

           within the aforementioned bus;




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       h. operated, controlled, and 'drove said bus without properly and sufficiently

            supervising the;individuals being transported;

       i. failed to separate Plaintiff Reza from the assailant after his sexual and physical

            assault, and abuse ofPlaintiff Reza;

       j. failed to operate said bus in a reasonably safe manner. •

109.        Based on information and belief, ED BYRNE was Defendants' employee, acting

   within the course and scope of his employment when he acted or failed to act as described

   above.

110.        Defendants       vicariously liable to Plaintiffs, under the Doctrine of Respondeat

   Superior, for the acts Or omissions of.their authorized agent, ED BYRNE,when he acted

   or failed to act as described above.

111.        As a direct and proximate cause and result of one or more of the aforementioned

   actions or inactions `Of the Defendants herein, Plaintiff ALEXIX REZA was sexually

   assaulted, while aboard the MegaBus, and suffered severe and permanent psychological,

   and emotional injuries and damages, all of which.caused and continue to cause her great

   pain and suffering, mental and emotional distress, and have resulted in her diminished

   ability to enjoy her life.

       WHEREFORE, the Plaintiff ALEXIS REZA prays this Honorable Court to enter

       judgment in their favor and against Defendants for an amount in excess of$50,000 and

       for their costs of suit.
                             t




                                                       Respectfully submitted,

                                                       By: /s/ Bhavani Raveendran




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                                                      Attorney for Plaintiff


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             IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                   COUNTY DEPARTMENT,LAW DIVISION

 ALEXIS REZA


             Plaintiff,

      V.                                               No.:

MEGABUS USA,LLC,ED BYRNE,                              PLAINTIFF DEMANDS JURY
individually and as an agent of Megabus                TRIAL
USA,LLC; COACH LEASING,INC., and
COACH USA,INC.,




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                Defendants.                      )

                     AFFIDAVIT REGARDING DAMAGES SOUGHT

I,Bhavani Raveendran, being first duly sworn under oath, states as follows:

       1.     That your affiant is one ofthe attorneys ofrecord for the party in this matter.

       2.     That the total money damages sought in this civil action exceed $50,000.00.

       FURTHER AFFIANT SAYETH NOT.
                              '
                                            Respectfully submitted,
                                            By: /s/ Bhavani Raveendran
                                            One of Plaintiffs' attorneys

Pc]    Under penalties as provided by law pursuant to 735 ILCS 5/1-109(1993), I certify that the
       statements set forth herein are true and correct.

Bhavani Raveendran
ROMANUCCI & BLANDIN,LLC
321 N. Clark Street, Suite 900,Chicago IL,60654
Telephone: 312-458-1000
Attorney # 35875
b.raveendran@rblaw.net


               IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS
                     COUNTY DEPARTMENT,LAW DIVISION

 ALEXIS REZA                                     )
                                                 )
                                                 )
               Plaintiff,                  )
                                           )
        V.                                 ) No.:
                                           )
MEGABUS USA,LLC,ED BYRNE,                  ) PLAINTIFF DEMANDS JURY
individually and as an agent of Megabus    ) TRIAL
USA,LLC; COACH LEASING,INC., and           )
COACH USA,INC.,                            )
                                           )
               Defendants;..               )
                                     JURY DEMAND

       The undersigned demands a jury trial.




                                               23
                                             Exhibit A
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                                          Respectfully submitted,
                                          By: /s/ Bhavani Raveendran
                                          One of Plaintiffs' attorneys

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                                          Exhibit A
